                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:14-cr-00010-MR-DLH-4


UNITED STATES OF AMERICA,       )
                                )
                  Plaintiff,    )
                                )
     vs.                        )                  ORDER
                                )
MARIA CARMEN HERRERA,           )
                                )
                  Defendant.    )
_______________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment as to the named Defendant [Doc. 83].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

83] is GRANTED, and the Bill of Indictment in this case is hereby

DISMISSED WITHOUT PREJUDICE as to Defendant Maria Carmen

Herrera.

     IT IS SO ORDERED.         Signed: August 28, 2014




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